             Case 8:18-bk-09090-MGW          Doc 43     Filed 05/13/19    Page 1 of 18



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                    Case No. 8:18-bk-09090-MGW
                                                          Chapter 7
Matthew Francis Bartolomeo
Olga Bartolomeo,

            Debtor(s).
______________________________/

                  CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK
         GLOBAL REAL ESTATE SERVICES AND HUNT REALTY GROUP TO PROCURE
             CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 & 330

          Christine Herendeen, as Chapter 7 Trustee (the “Trustee”) for the above referenced

Debtor (together, the “Debtor”), files this Application to authorize retention of (1) BK Global

Real Estate Services (“BKRES”) and (2) Hunt Realty Group, Inc. (the “Listing Agent”) In

support thereof, the Trustee respectfully states as follows:

                                    PRELIMINARY STATEMENT

          The Trustee requests approval to retain BKRES and Hunt Realty Group, at no cost to the

estate, to negotiate with and persuade the first lien holder on certain real property in which the

estate has no equity to (1) allow Trustee to sell such property at the highest price that the market

will bear, (2) waive the resulting deficiency claim and (3) pay a 11 U.S.C. § 506 surcharge to

provide a carve out for the benefit of the estate and pay all other sale expenses, including a 6%

brokerage commission that will be shared equally by BKRES and Listing Agent only upon the

closing of a sale that is approved by this Court.

          BKRES and its affiliates have proprietary technology and a national team of experienced

loan servicing specialists, asset managers, negotiators, trustee relation managers, real estate

brokers and agents, closing specialists and attorneys with extensive experience in procuring the

consent of mortgage lenders and servicers to sell over-encumbered properties and provide
              Case 8:18-bk-09090-MGW         Doc 43     Filed 05/13/19     Page 2 of 18



significant cash recoveries to selling estates with no equity, through the Consented Sale™

process described herein.

         BKRES and Listing Agent will not be entitled to any compensation from the estate

whatsoever under any circumstances. They will only receive and share a customary brokerage

commission that is paid by secured creditor as a 11 U.S.C. § 506 surcharge approved by this

Court.

         The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a Consented

Sale™ will likely result in secured creditor paying a carve out for the benefit of the estate with

proceeds from the public sale of an asset in which the estate has no equity and (2) expects to

obtain secured Creditors’ agreement to a Consented Sale™, and bring a separate motion seeking

this Court’s approval of the procedures, terms and conditions by which the over-encumbered

property will be sold, within the coming months.

                                            Jurisdiction

         1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2)(A), (M), (N), and (O).

         2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                            Background

         3.      On October 24, 2018, the Debtors commenced this case by filing a voluntary

petition for relief under Chapter 7 of the United States Bankruptcy Code.

         4.      Thereafter, the Trustee was appointed as the Chapter 7 Trustee in this case.
             Case 8:18-bk-09090-MGW               Doc 43       Filed 05/13/19        Page 3 of 18



        5.       The Trustee held and concluded the 341 meeting on January 7, 2019.

        6.       The Debtor is the sole owner of real property located at 12611 Lake Vista Blvd.,

Gibsonton, FL 33534 (the “Property”).

        7.       The Debtor scheduled the Property with a value of $240,000.00. The Property is

subject to mortgage lien (the “Senior Mortgage”) in favor of Quicken Loans Inc. (the “Secured

Creditor”) in an amount exceeding $222,828.30.

        8.    The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™ 1, sales analysis report and opinion of value for the Property provided by BKRES

and Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all

creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to do the

following, with the proviso that the hired professionals, BKRES or Local Agent, shall not

participate in the sale and purchase of any estate property except as hired brokers:

                 a. sell the Property to whichever third party Trustee determines to have made the

                      best qualified offer during a public sale approved by the Court;

                 b. release the Senior Mortgage and otherwise waive all of its claims against the

                      estate with respect to the Property (including any deficiency claims resulting

                      from the proposed sale); and

                 c. If the Property is sold to a third party, agree to a 11 U.S.C. § 506 surcharge to

                      pay all the expenses associated with the proposed sale, including the payment

                      of a 6% real estate brokerage commission to BKRES and Listing Agent and

                      reimbursement of their out-of-pocket expenses, and provide a carveout for the

                      benefit of allowed unsecured creditors of the Debtor’s estate;




1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
             Case 8:18-bk-09090-MGW         Doc 43     Filed 05/13/19     Page 4 of 18



                d. If Secured Creditor purchases property, agree to a 11 U.S.C. § 506 surcharge

                    to pay all the expenses associated with the proposed sale, including the

                    payment of a 2% real estate brokerage commission to BKRES, of which a

                    $500.00 fee will be paid to Listing Agent, and provide a carveout for the

                    benefit of allowed unsecured creditors of the Debtor’s estate.

       9.     Trustee expects to obtain Secured Creditors’ Consent and bring a separate motion

seeking an order approving the sale of the Property (the “Motion to Approve Sale”) within

several months of the entry of the order sought by this Application.

       10. By this Application, the Trustee requests authority pursuant to Sections 327, 328(a)

and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured

Creditors’ Consent, and (b) approve Secured Creditor’s payment of the fees described below

directly to BKRES and Listing Agent at closing of the sale of the Property, if and when the

Consent and Motion to Approve Sale are granted.

                                           APPLICATION

       11.      Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor

“with the court’s approval, may employ or authorize the employment of a professional person

under section 327...on any reasonable terms and conditions of employment, including on a

retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11

U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee…

or a professional person employed under section 327…(A) reasonable compensation for actual,

necessary services rendered [by such party]… and (B) reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1). Compensation will be determined later in accordance with 11

U.S.C. § 330.
                 Case 8:18-bk-09090-MGW             Doc 43      Filed 05/13/19   Page 5 of 18



           12.      As further described in the materials attached to their affidavits, BKRES 2 and

Listing Agent have extensive experience obtaining the consent and agreement of mortgage

lenders and servicers to the sale of their collateral and resolution of any resulting unsecured

claims in order to produce a recovery for estates from over-encumbered assets in which the

estate has no equity.

           13.      The Trustee believes that the highest and best value for the Property will be

generated through a sale in which the Property is widely marketed to the public and offered at

the highest price that the market will bear. The Trustee further believes that such a sale is in the

best interest of the Debtor’s estate, but can only be achieved if Secured Creditors’ Consent is

first obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to

obtain Secured Creditor’s Consent is in the best interests of the Debtor’s estate.

           14. In no event will the estate have any obligation to pay BKRES or Listing Agent. The

terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent

are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion

to Approve Sale is granted and (c) the Property is sold, in which event BKRES and Listing

Agent will receive and share a 6% real estate brokerage commission at closing in accordance

with the order approving the sale.

           15. BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does

not grant its Consent or the Court does not grant the Motion to Approve Sale.

           16. The Trustee submits that the terms of employment and compensation as set out in

the BKRES Agreement and listing agreement are reasonable in light of the extensive experience

of BKRES and Listing Agent and the nature of the services they provide.

           17. BKRES attested that it is a disinterested person within the meaning of


2
    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
           Case 8:18-bk-09090-MGW            Doc 43     Filed 05/13/19     Page 6 of 18



Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a).   Attached hereto as Exhibit “A” is an Affidavit of Disinterestedness of BKRES.

BKRES also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with

any individual or entity other than Listing Agent.

       18. Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit “B” is an Affidavit of Disinterestedness of Listing Agent.

Listing Agent also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee

with any individual or entity other than BKRES.

                                           CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the

Court’s authority to retain BKRES and Listing Agent in this case, and requests that the Court

approve the compensation arrangements set forth in the BKRES Agreement and Listing

Agreement pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code. Attached hereto

as Exhibit “C” is the Listing Agreement.

       Dated: May 13, 2019,


                                                       Respectfully submitted,

                                                       /s/ Christine Herendeen
                                                       Chapter 7 Trustee
                                                       P.O. Box 152348
                                                       Tampa, FL 33684
                                                       Telephone: (813) 438-3833
                                                       Email:
                                                       clherendeen@herendeenlaw.com
           Case 8:18-bk-09090-MGW              Doc 43     Filed 05/13/19       Page 7 of 18




                                  CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the Application to Retain BK Global Real Estate Services

and Hunt Realty Group to Procure Consented Public Sale Pursuant to 11 U.S.C. §§327, 328 & 330 was

provided by electronic delivery or U.S. mail on May 13, 2019 to:

        U. S. Trustee, 501 E. Polk Street Suite 1200, Tampa, FL 33602

        Samantha L Dammer, Tampa Law Advocates, P.A., 620 East Twiggs, Suite 110,
        Tampa, FL 33602

        Matthew Bartolomeo and Olga Bartolomeo, 3854 Lake Saint George Dr, Palm Harbor,
        FL 34684

                                                 /s/ Christine L. Herendeen
                                                 Christine L. Herendeen, Trustee
Case 8:18-bk-09090-MGW    Doc 43   Filed 05/13/19   Page 8 of 18




                         EXHIBIT "A"
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 9 of 18
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 10 of 18
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 11 of 18
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 12 of 18
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 13 of 18
Case 8:18-bk-09090-MGW    Doc 43   Filed 05/13/19   Page 14 of 18




                         EXHIBIT "B"
Case 8:18-bk-09090-MGW    Doc 43   Filed 05/13/19   Page 15 of 18




                         EXHIBIT "C"
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 16 of 18
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 17 of 18
Case 8:18-bk-09090-MGW   Doc 43   Filed 05/13/19   Page 18 of 18
